
*1383The opinion of the court was delivered by
McEnery, J.
The defendant was indicted for burglary and larceny. He was convicted, and moved in arrest of judgment that two different and distinct crimes, belonging to different generic classes, can not be charged in one indictment.
There are two counts in the indictment, the first charging burglary with intent to steal, and the second charging larceny.
It is well settled that a defendant may be charged in the same indictment, if in separate counts, with burglary and larceny, when they both spring from the same act. State vs. Depass, 31 An. 487; State vs. King, 37 An. 662; State vs. Morgan, 39 An. 214; State vs. Nicholls, 37 An. 779.
Judgment affirmed.
